                  Case 1:12-cr-00242-JRH-BKE Document 315 Filed 10/14/15 Page 1 of 1
AO 14?(10,/ll) Orde.Regarding
                            Motionfor Sentence      Pursl6ntlo l8 U.S.C.{ 3582(cl(2)
                                             Reducnon                                                           PaseI of 2 (Page          Disclosue)


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                                                        UNITEDSTATESDISTR]CTCOURT
                                                                  for the                                           4n lf, aaT
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                                                             SouthernDistrict of Georgia
                                                                       AugustaDivision                            Ci-;-i?K
                     United Statesof America                                                                            S 0 .i i l S

                                                                                CaseNo:1:12CR00242-1
                        Adrian Diaz-Fonseca
                                                                                USMNo:17801-021
Date of Original Judgment:                    A p r i l1 5 . 2 0 1 4            RavmondB. Lail. J. PeleTheodocton
Dateof PreviousAmendedJudgment:Not Applicable                                   Defendant'sAttorney
(Use D6te af l"1st Amended Judgnent iJ An)/



                      Order Regarding Motion for SentenceReduction Pursuant to 18 U.S.C' $ 3582(c)(2)

        Uponmotion of Ithe defendant!the Directorof the Bureauof Prisonsflthe court under l8 U.S.C,
$ 3582(cX2)  for a reduction in the term of imprisonmentimposedbasedon a guideline sentencingrangethat has
subsequentlybeen lorveredand made retroactiveby the United StatesSentencingCommissionpursuantto 28 U.S.C.
g 994(u), and having consideredsuch motion, and taking into accountthe policy statementset forth at USSG $ 1B l.l0 and
the sentencingfactors set forth in l8 U.S.C. $ 3553(a),to the extent that they are applicable,

IT IS ORDERED rhatthe motion is:
                                                                                            in thetastrudsnent
S nnNIAl. ! CnANf eO and the defendant'spreviously imposed sentenceof imprisonment1a"releclea
             issued of        months is reduced to


                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwiseprovided above,all provisions of the judgment dated                  April 15,2014       shall remab in effect.

IT IS SO ORDERED.

Order Date:
                                                                                                  Judge's




                                                                                J. RandalHall
EffectiveDate: November1. 2015                                                  United StatesDistrict Judge
                       0f &fercntton orderdate)                                                 Printed name and t{tle
